                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                            DOCKET NO. 3:19-cv-00231-FDW


 ALLEN MARSHELL MCCALL, JR.,                      )
                                                  )
         Petitioner,                              )
                                                  )
 vs.                                              )
                                                  )                       ORDER
 UNITED STATES OF AMERICA,                        )
                                                  )
         Respondent.                              )
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       THIS MATTER is before the Court on Petitioner’s Petition for Writ of Habeas Corpus

Under 28 U.S.C. § 2241. (Doc. No. 1).

                                        I. BACKGROUND

       On November 2, 2006, a jury found Petitioner Allen Marshell McCall Jr. (“Petitioner”)

guilty of conspiring to possess with intent to distribute powder and crack cocaine in violation of

21 U.S.C. §§ 841 and 846. (3:05-cr-104, Doc. No. 381). The jury found that at least 5 kilograms

of cocaine and at least 50 grams of crack cocaine were reasonably foreseeable to Petitioner during

the course of his participation in the conspiracy. (3:05-cr-104, Doc. No. 381 at 3). The United

States notified the Petitioner and the Court in accordance with 21 U.S.C. § 851 that it intended to

seek an enhanced penalty based on Petitioner’s prior conviction for a “felony drug offense”—his

possession with intent to sell or deliver cocaine in May of 2003. (3:05-cr-104, Doc. No. 179).

       Prior to sentencing, the probation officer prepared a presentence report (“PSR”),

calculating Petitioner’s total offense level as 32 and his criminal history category of III, resulting

in an advisory Guidelines range of between 151 months and 188 months imprisonment. (3:05-cr-

104, Doc. No. 617, p. 23). The probation officer also noted that Petitioner was subject to a statutory

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mandatory-minimum sentence of 240 months in prison because he had previously been convicted

of a felony drug offense. Id. At sentencing, the Court adopted the PSR and sentenced Petitioner

to the statutory minimum term of 240 months imprisonment and the minimum ten-year term of

supervised release. (3:05-cr-104, Doc. No. 507). Petitioner timely appealed and the Fourth Circuit

affirmed this Court’s judgment. States v. McCall, 332 F. App’x 49, 50 (4th Cir. 2009).

         Subsequent to Petitioner’s direct appeal, the Fourth Circuit decided United States v.

Simmons, 649 F.3d 237 (4th Cir. 2011). In Simmons, the Fourth Circuit overturned previous

circuit decisions and held that in deciding whether an offense qualifies as a “felony drug offense”

for purposes of § 841(b)(1), a district court must look not to the maximum sentence that North

Carolina courts could have imposed for a hypothetical defendant who was guilty of an aggravated

offense or had a prior criminal record, but instead to the maximum sentence that could have been

imposed on a person with the defendant’s actual level of aggravation and criminal history. Id. at

241. The basis for this change in circuit precedent was the United States Supreme Court’s decision

in Carachuri-Rosendo v. Holder, 560 U.S. 563 (2010). Approximately one year after the Simmons

decision, the Fourth Circuit, in United States v. Powell, held that the rule announced in Carachuri,

and applied in Simmons, was procedural, not substantive, and therefore did not apply

retroactively.1 United States v. Powell, 691 F.3d 554, 559–60 (4th Cir. 2012).

         On August 12, 2012, Petitioner filed a § 2255 motion contending that he was entitled to

relief under Simmons, 649 F.3d 237 (4th Cir. 2011). (3:12-cv-501, Doc. No. 1). Petitioner argued

that the Fourth Circuit’s holding in Simmons demonstrates that his prior state felony drug

conviction did not qualify him for a section 851 sentencing enhancement. (3:12-cv-501, Doc. No.


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 While Powell did not expressly address the retroactivity of Simmons on collateral review, subsequent rulings by the
Fourth Circuit indicated that, like Carachuri, Simmons is not applicable retroactively on collateral review. See United
States v. Peters, 2013 WL 1943801, at *1 (4th Cir. 13 May 2013) (“In Powell, we held that [Carachuri], and by
extension, [Simmons], were not retroactively applicable.”).

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1 at 2–3). This Court denied Petitioner’s motion, holding, in accordance with the Fourth Circuit’s

decision in Powell, that Petitioner was not eligible for relief under § 2255. (3:12-cv-501, Doc. No.

2, pp. 4–5).

       In August 2013, the Fourth Circuit decided Miller v. United States, 735 F.3d 141 (4th Cir.

2013), and held that Simmons was a new rule of substantive criminal law that applied retroactively

to cases on collateral review. The Fourth Circuit reaffirmed the retroactivity of Simmons in its

recent decision in United States v. Wheeler, 886 F.3d 415 (stating that, in accordance with Miller,

“Simmons applies retroactively on collateral review”).

       Petitioner filed the instant petition before the Court under 28 U.S.C. § 2241, challenging

his sentence under the Fourth Circuit’s decisions in Simmons and Wheeler. (3:19-cv-231, Doc.

No. 1, p. 1). Petitioner argues that under these decisions, his prior state conviction does not qualify

as a “felony drug offense.” (3:19-cv-231, Doc. No. 1 at 3). Petitioner requests that this Court

vacate his sentence and impose a reduced sentence of time served and a supervised release term of

five years or, in the alternative, vacate his sentence and schedule a resentencing hearing.

                                      II. LEGAL STANDARD

       Petitioner challenges the legality, not the execution of his sentence. “[I]t is well established

that defendants convicted in federal court are obliged to seek habeas relief from their convictions

and sentences through [28 U.S.C.] § 2255.” Rice v. Rivera, 617 F.3d 802, 807 (4th Cir. 2010).

When a federal prisoner is barred from seeking habeas relief through § 2255, he may still seek a

writ of habeas corpus pursuant to 28 U.S.C. § 2241 through § 2255’s savings clause, § 2255(e),

which is available when a § 2255 motion “proves inadequate or ineffective to test the legality of .

. . detention.” In re Jones, 226 F.3d 328, 333 (4th Cir. 2000). Section 2255 is inadequate and

ineffective to test the legality of a sentence when:



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        (1) at the time of sentencing, settled law of [the Fourth Circuit] or the Supreme
        Court established the legality of the sentence; (2) subsequent to the prisoner’s direct
        appeal and first § 2255 motion, the aforementioned settled substantive law changed
        and was deemed to apply retroactively on collateral review; (3) the prisoner is
        unable to meet the gatekeeping provisions of § 2255(h)(2) for second or successive
        motions; and (4) due to this retroactive change, the sentence now presents an error
        sufficiently grave to be deemed a fundamental defect.

United States v. Wheeler, 886 F.3d 415, 429 (4th Cir. 2018) (citation omitted).

                                                III. ANALYSIS

        Here, the only prong of the Wheeler test at issue is the second prong. Wheeler’s second

step asks whether “subsequent to the prisoner's direct appeal and first § 2255 motion, the

aforementioned settled substantive law changed and was deemed to apply retroactively on

collateral review.” Id. To satisfy the second prong under the Wheeler test, the Fourth Circuit

explained that

        “[The substantive] change in law must have been made retroactive on collateral
        review. Otherwise, the prisoner would not be able to ‘test the legality of his
        detention’ in a § 2241 proceeding, which is the ultimate goal of the savings clause.
        And the retroactive change could not have occurred before direct appeal or the
        initial § 2255 petition. This is in harmony with Jones and honors the savings
        clause’s requirement that the § 2255 motion be inadequate or ineffective.

Wheeler, 886 F.3d at 429 (emphasis added). Applying these principles to the facts in Wheeler, the

Fourth Circuit held that the petitioner satisfied the second prong because the Simmons decision

did not become retroactive on collateral review until after the petitioner’s § 2255 motion. Id. This

Court finds that the same holding is warranted in the case at hand.

        Like the petitioner in Wheeler, Petitioner was not able to take advantage of the Simmons

decision when he filed his initial § 2255 motion because Simmons was not deemed to apply

retroactively on collateral review at the time of Petitioner’s initial § 2255 motion.2 See id.; but see


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  The Court notes that while the petitioner in Wheeler and Petitioner in this instant invoked Simmons at different
stages in their respective cases, both petitioners were denied relief under Section 2255 because Simmons had not been
declared retroactive.

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Jones v. Warden, FCI Allenwood, No. 1:15-cv-13133, 2018 WL 4698493, at *5 (S.D.W. Va. Aug.

16, 2018), report and recommendation adopted, No. CV 1:15-13133, 2018 WL 4686442 (S.D.W.

Va. Sept. 28, 2018) (finding that petitioner was ineligible for § 2241 relief because Simmons

became retroactive while the petitioner’s § 2255 motion was pending). Here, Petitioner filed his

direct appeal on December 21, 2007 and his first § 2255 motion on August 12, 2012. Simmons,

as indicated above, was decided on August 17, 2011, but was not recognized as retroactive on

collateral review until Miller, which was decided on August 21, 2013, after Petitioner’s § 2255

motion had been adjudicated. Because Petitioner’s § 2241 petition relies on a retroactively

applicable change in substantive law subsequent to his direct appeal and first § 2255 motion, he

satisfies the second prong. See Wheeler, 886 F.3d at 429. Accordingly, the Court finds that

Petitioner has satisfied the savings clause criteria for prong two under Wheeler.

       The Government contends that Petitioner is not entitled to relief under the savings clause

because the substantive change in the law he relies upon—Simmons—was decided before, not

after, Petitioner filed his § 2255 motion. (Doc. No. 5, pp. 4–7). Thus, under the Government’s

interpretation of the statute, even though Simmons was of absolutely no legal use to Petitioner

when he filed his first § 2255 petition, the mere existence of the Simmons decision precludes

Petitioner from seeking relief under the new, changed retroactive rule. To adopt the Government’s

interpretation of the statute and deny Petitioner the opportunity to test the legality of his detention

in a § 2241 proceeding under the circumstances at hand would fly in the face of the Supreme

Court’s pronouncement that “the privilege of habeas corpus entitles the prisoner to a meaningful

opportunity to demonstrate that he is being held pursuant to the erroneous application or

interpretation of relevant law.” Boumediene v. Bush, 553 U.S. 723, 779 (2008) (emphasis added)

(internal quotations omitted). Because Petitioner was unable to take advantage of Simmons’



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retroactivity at the time of Petitioner’s initial § 2255 motion, the Court finds that the § 2255 petition

was inadequate, and that Petitioner is entitled to relief under § 2241.

        Petitioner was subject to a statutory mandatory minimum of 20 years in prison and 10 years

of supervised release based on a prior conviction that no longer constitutes a “felony drug offense”

and cannot support an enhancement under 21 U.S.C. § 841(b)(1)(A). (3:05-cr-00104, Doc. No.

863, p. 3). Petitioner argues, and the Government does not dispute, that without the prior “felony

drug offense” conviction, Petitioner would have been subject to a mandatory Guideline range of

between 121 and 151 months in prison. (3:05-cr-00104, Doc. No. 863 at 2). The Government

also does not dispute that prongs one, three and four of the Wheeler test are met. As such,

Petitioner is entitled to sentencing relief under Wheeler.

        Petitioner is currently set to be released from his custodial term of imprisonment on

November 17, 2022. (3:05-cr-00104, Doc. No. 863 at 3). Petitioner has credit for at least 184

months in BOP custody. Because Petitioner is entitled to relief under § 2241, the Court will amend

Petitioner’s judgment, sentencing Petitioner to time served plus five days and reducing Petitioner’s

term of supervised release from ten (10) years to five (5) years.

                                         IV. CONCLUSION

        For the reasons stated above, the Court GRANTS Petitioner’s § 2241 petition.

        IT IS THEREFORE ORDERED that:

        1. Petitioner’s petition under 28 U.S.C. § 2241 (Doc. No. 1) is GRANTED.

        2. Petitioner’s commitment to custodial authorities is reduced to time served plus five (5)

            days, and Petitioner’s subsequent term of supervised release is reduced from ten (10)

            years to five (5) years.




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3. The Clerk of Court will certify copies of this Order to the U.S. Bureau of Prisons, U.S.

   Marshals Service, and U.S. Probation and Pretrial Services Office.

IT IS SO ORDERED.


                                 Signed: August 20, 2019




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